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                                                       UNITED STATES DISTRICT COURT
                       14                            NORTHERN DISTRICT OF CALIFORNIA
                       15                                 SAN FRANCISCO DIVISION

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                            STEWART O’NAN, et al.,                        Case No.: 3:24-cv-01451-CRB
                       17                                                 Case No.: 3:24-cv-02653-CRB
                                              Plaintiffs,
                       18                                                 DEFENDANTS’ RESPONSE TO
                                   v.                                     COURT ORDER DIRECTING
                       19                                                 RESPONSE RE: CASE SCHEDULE
                            DATABRICKS, INC., et al.,
                       20
                                              Defendants.                 Dept:      6
                       21                                                 Judge:     Hon. Charles R. Breyer
                       22
                            REBECCA MAKKAI, et al.,
                       23
                                              Plaintiffs,
                       24
                                   v.
                       25
                            DATABRICKS, INC., et al.,
                       26
                                              Defendants.
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                             DEFENDANTS’ RESPONSE TO COURT                               Case No.: 3:24-cv-01451-CRB
                             ORDER RE: CASE SCHEDULE                                     Case No.: 3:24-cv-02653-CRB
                              Case 3:24-cv-01451-CRB Document 52 Filed 07/08/24 Page 2 of 3



                        1          Defendants Databricks, Inc. and Mosaic ML, LLC, formerly Mosaic ML, Inc. (together

                        2   “Defendants”) submit this Response to the Court Order Directing Response re: Case Schedule

                        3   (O’Nan Dkt. No. 51; Makkai Dkt. No. 50).

                        4          Defendants consent to a case schedule that permits both named Plaintiffs and Defendants

                        5   to file motions for summary judgment on the fair use defense before litigating class certification.

                        6   Accordingly, Defendants waive objections based on the one-way intervention rule.

                        7          Defendants submit this response without waiving any arguments challenging the validity

                        8   of claims brought by any intervening plaintiff based on facts and circumstances unique to them,

                        9   and to the propriety of class certification under Federal Rule of Civil Procedure 23.

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                       11   Dated: July 8, 2024                           FENWICK & WEST LLP
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                       13                                                 By: /s/ Jedediah Wakefield
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                             DEFENDANTS’ RESPONSE TO COURT                                          Case No.: 3:24-cv-01451-CRB
                             ORDER RE: CASE SCHEDULE                         1                      Case No.: 3:24-cv-02653-CRB
                                                Case 3:24-cv-01451-CRB Document 52 Filed 07/08/24 Page 3 of 3




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                                           6                                        MOSAIC ML, LLC, formerly
                                                                                    MOSAIC ML, INC.
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                       ATTORNEYS AT LAW




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                                               DEFENDANTS’ RESPONSE TO COURT                          Case No.: 3:24-cv-01451-CRB
                                               ORDER RE: CASE SCHEDULE             2                  Case No.: 3:24-cv-02653-CRB
